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                                         PX 296: Summary of Certain Monell Evidence
                                              Walker v. County of Erie, 22-cv-520

Brady and Rosario

                                                    Date of                                                            Purpose(s)
                                    Date of
 Incident    PX                                      Court          ECDA                                            (Court Copy Only)
                    Defendant(s)     Trial/                                              Summary
   No.      No(s)                                  Decision/     Prosecutor(s)
                                   Conviction
                                                 Article/Brief
    1       100     Ronald         Dec 1975     Feb 26, 1976     Benjamin        • Buffalo Evening News       (1) To establish the
                    Bader and      (trial)      (decision),      Andrews           reports that court found       policymaker’s notice of
                    Joseph                      Feb 27, 1976                       ECDA withheld                  reported misconduct
                    Horton                      (article)                          favorable investigator         (herein, “Notice”), for
                                                                                   reports in murder              purpose of showing policy
                                                                                   prosecution.                   of deliberate indifference to
                                                                                                                  commission of
                                                                                 • Court ordered new trial.       constitutional violations
                                                                                                                  creating anything-goes
                                                                                                                  culture (herein, “Deliberate
                                                                                                                  Indifference”). See, e.g.,
                                                                                                                  Jones v. Town of E. Haven,
                                                                                                                  691 F.3d 72, 82 (2d Cir.
                                                                                                                  2012) (Monell liability may
                                                                                                                  be shown by deliberate
                                                                                                                  indifference of supervisory
                                                                                                                  personnel to constitutional
                                                                                                                  violations so as to give
                                                                                                                  employees “a sense of
                                                                                                                  liberty to abuse rights”
                                                                                                                  without risking appropriate
                                                                                                                  disciplinary consequences);
                                                                                                                  Disorbo v. Hoy, 74 F. App’x
                                                                                                                  101, 104 (2d Cir. 2003)
                                                                                                                  (jury reasonably could have
                                                                                                                  inferred that municipality’s
                                                                                                                  failure to discipline
                                                                    1
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                                                 Date of                                                          Purpose(s)
                                   Date of
Incident    PX                                    Court           ECDA                                         (Court Copy Only)
                   Defendant(s)     Trial/                                           Summary
  No.      No(s)                                Decision/      Prosecutor(s)
                                  Conviction
                                               Article/Brief
                                                                                                           adequately officers who
                                                                                                           committed constitutional
                                                                                                           violations “created an
                                                                                                           atmosphere whereby police
                                                                                                           department tolerated
                                                                                                           misconduct”); see also
                                                                                                           Walker Dkt. 268, at 3 n.2
                                                                                                           (citing additional
                                                                                                           authorities), id. at 1–15
                                                                                                           (discussing deliberate
                                                                                                           indifference theory of
                                                                                                           Monell liability generally);
                                                                                                           Dkt. 172, at 67–76 (same);
                                                                                                           Dkt. 241, at 35–36 (same).

                                                                                                        (2) To establish Notice, for
                                                                                                           purpose of showing the
                                                                                                           policymaker’s acquiescence
                                                                                                           to subordinates’ misconduct
                                                                                                           giving rise to inference of
                                                                                                           unlawful policy, custom, or
                                                                                                           practice of Brady violations
                                                                                                           (herein, “Unlawful Brady
                                                                                                           Policy, Custom, or
                                                                                                           Practice”). See, e.g.,
                                                                                                           Lucente v. Cnty. of Suffolk,
                                                                                                           980 F.3d 284, 301-08 (2d
                                                                                                           Cir. 2020) (supervisor’s
                                                                                                           indifference to corrections
                                                                                                           officer’s incidents of
                                                                                                           misconduct created factual
                                                                                                           question as to existence of a
                                                                                                           widespread municipal
                                                                                                           practice); Matusick v. Erie
                                                                  2
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                                                 Date of                                                              Purpose(s)
                                   Date of
Incident    PX                                    Court            ECDA                                            (Court Copy Only)
                   Defendant(s)     Trial/                                              Summary
  No.      No(s)                                Decision/       Prosecutor(s)
                                  Conviction
                                               Article/Brief
                                                                                                               Cnty. Water Auth., 757 F.3d
                                                                                                               31, 62–63 (2d Cir. 2014)
                                                                                                               (supervisor’s indifference to
                                                                                                               racist harassment directed at
                                                                                                               a single white employee
                                                                                                               revealed a “custom and
                                                                                                               practice” triggering Monell
                                                                                                               liability); Amnesty Am. v.
                                                                                                               Town of W. Hartford, 361
                                                                                                               F.3d 113, 126 (2d Cir. 2004)
                                                                                                               (“Another method of
                                                                                                               implicating a policymaking
                                                                                                               official through
                                                                                                               subordinates’ conduct is to
                                                                                                               show that the policymaker
                                                                                                               was aware of a
                                                                                                               subordinate’s
                                                                                                               unconstitutional actions,
                                                                                                               and consciously chose to
                                                                                                               ignore them, effectively
                                                                                                               ratifying the actions.”); see
                                                                                                               also Walker Dkt. 268, at 1–
                                                                                                               15 (discussing inference of
                                                                                                               unlawful policy, custom, or
                                                                                                               practice from policymaker’s
                                                                                                               notice of and acquiescence
                                                                                                               to misconduct); Dkt. 172, at
                                                                                                               61–67 (same); Dkt. 241, at
                                                                                                               34–35 (same).
   2       101–    J.L. Ivey      Oct 1976     Oct 18, 1976     Al Ranni        • Trial court finds ECDA     Notice: Deliberate
           03                     (trial)      (trial court     (Trial ADA)       withheld police notes of   Indifference and Unlawful
                                               ruling)                            interviews with            Brady Policy, Custom, or
                                                                Joseph            prosecution witnesses      Practice.
                                                                Matteliano        that ECDA was required
                                                                    3
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                                                   Date of                                                              Purpose(s)
                                   Date of
Incident    PX                                     Court           ECDA                                              (Court Copy Only)
                   Defendant(s)     Trial/                                              Summary
  No.      No(s)                                  Decision/     Prosecutor(s)
                                  Conviction
                                                Article/Brief
                                               April 29, 1981   (Appeals          to disclose under            ADA Drury testified at his
                                               (ECDA            ADA)              Rosario.                     deposition that this 1976
                                               appellate                                                       murder trial “had some
                                               brief)           Edward          • ECDA prosecutor argues       notoriety” at the ECDA,
                                                                Cosgrove          that the notes were “for     Walker Dkt. 164-14, at 73:9–
                                                                (DA)              cross examination            20, thus supporting notice.
                                                                                  purposes only,” “only to     The ECDA prosecutor’s
                                                                                  impeach,” and “not to        statement in the appellate brief
                                                                                  discover,” adding the        in the policymaker’s name
                                                                                  defendant is “not entitled   acknowledges that the trial
                                                                                  to the entire homicide       prosecutor did not know the
                                                                                  file as soon as the gong     law because it was new.
                                                                                  of jury selection goes
                                                                                  off.”                        The ECDA prosecutor’s
                                                                                                               statements (herein, “ECDA
                                                                                • ECDA prosecutor claims       Statement”) are statements of
                                                                                  the police notes “were       a party opponent, see Fed. R.
                                                                                  not withheld, [defense       Evid. 801(d)(2)), and also
                                                                                  counsel] just didn’t ask     offered for the fact that they
                                                                                  for it,” even though         were said, as evidence of the
                                                                                  defense counsel              Unlawful Brady Policy,
                                                                                  requested that Rosario       Custom, or Practice
                                                                                  material be produced.

                                                                                • Trial court orders ECDA
                                                                                  to produce the withheld
                                                                                  materials, and prosecutor
                                                                                  comments: “You ordered
                                                                                  me and I supplied it to
                                                                                  him. Under what theory,
                                                                                  I will never know.”

                                                                                • On appeal, ECDA
                                                                                  concedes that its
                                                                   4
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                                                 Date of                                                              Purpose(s)
                                   Date of
Incident    PX                                    Court           ECDA                                             (Court Copy Only)
                   Defendant(s)     Trial/                                             Summary
  No.      No(s)                                Decision/      Prosecutor(s)
                                  Conviction
                                               Article/Brief
                                                                                 prosecutor did not
                                                                                 understand the law but
                                                                                 contended his error was
                                                                                 “understandable”
                                                                                 because, in its view, the
                                                                                 case law was new.
   3       106–    Alexander      March 1978   March 2, 1978 Joseph            • Trial court finds ECDA      Notice: Deliberate
           07      Clark          (trial)      (trial court  Schoellkopf         withheld favorable          Indifference and Unlawful
                                               ruling on                         evidence, including         Brady Policy, Custom, or
                                               motion)                           police report implicating   Practice.
                                                                                 alternative suspects and
                                                                                 revealing that primary      Although this is a trial court
                                                                                 eyewitness had identified   ruling, there is a reasonable
                                                                                 the prosecution’s star      inference that the policymaker
                                                                                 witness as resembling       would have been aware of a
                                                                                 one of the killers, until   significant development in this
                                                                                 late in trial, 16 months    trial on four counts of murder.
                                                                                 after defendant’s Brady     (See PX 107--ECDA case
                                                                                 request and 8 months        card).
                                                                                 after court ordered
                                                                                 disclosure.                 ECDA Statement: Unlawful
                                                                                                             Brady Policy, Custom, or
                                                                               • ECDA prosecutor argues      Practice.
                                                                                 anonymous phone call
                                                                                 implicating alternative
                                                                                 suspects was not
                                                                                 exculpatory and,
                                                                                 therefore, they “cannot
                                                                                 turn over as Brady
                                                                                 material every particular
                                                                                 anonymous phone call
                                                                                 that says someone else
                                                                                 committed a crime. It’s
                                                                                 not Brady material, it’s
                                                                  5
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                                                 Date of                                                              Purpose(s)
                                   Date of
Incident    PX                                    Court           ECDA                                             (Court Copy Only)
                   Defendant(s)     Trial/                                             Summary
  No.      No(s)                                Decision/      Prosecutor(s)
                                  Conviction
                                               Article/Brief
                                                                                 not the type of evidence
                                                                                 that is contemplated to
                                                                                 be turned over.”

                                                                               • ECDA prosecutor argues
                                                                                 that because the primary
                                                                                 eyewitness only stated
                                                                                 the prosecution’s star
                                                                                 witness looked “closest”
                                                                                 to the assailant she saw,
                                                                                 it was not a positive
                                                                                 identification and thus
                                                                                 was not Brady material.

                                                                               • Court rejects
                                                                                 prosecutor’s justification
                                                                                 for untimely disclosure:
                                                                                 “I don’t see how [the
                                                                                 report] can be read as
                                                                                 anything but favorable to
                                                                                 the defendants.”
   4       108     Michael        April 1978   April 19, 1978 George           • Newspapers report that       Notice: Deliberate
                   McKinley       (trial)      (mistrial       Quinlan           court declared mistrial in   Indifference and Unlawful
                                               order),                           murder prosecution after     Brady Policy, Custom, or
                                               April 19, 1978                    prosecutor withheld          Practice.
                                               (Buffalo                          favorable statement
                                               Evening News                      made by the defendant
                                               article), April                   that was taken by the
                                               20, 1978                          arresting officer. Judge
                                               (Buffalo                          states: “Statements are
                                               Courier-                          popping up like
                                               Express                           daffodils.”
                                               article)

                                                                  6
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                                                   Date of                                                              Purpose(s)
                                    Date of
Incident    PX                                      Court            ECDA                                            (Court Copy Only)
                   Defendant(s)      Trial/                                               Summary
  No.      No(s)                                  Decision/       Prosecutor(s)
                                   Conviction
                                                 Article/Brief
                                                                                  • ECDA prosecutor argued
                                                                                    the withheld statement
                                                                                    was “in substance” the
                                                                                    same as a statement that
                                                                                    was disclosed, and that
                                                                                    the prosecution “was not
                                                                                    obligated to provide the
                                                                                    defense, in advance, with
                                                                                    specific quotes.”
   5       109     John Reese     January 1979   January 23,      Timothy         • Trial court declares        Notice: Deliberate
                                  (trial)        1979 (Buffalo    Drury             mistrial in murder case     Indifference and Unlawful
                                                 Evening News                       because of Brady            Brady Policy, Custom, or
                                                 article)                           violation.                  Practice.

   6       110–    Douglas        March 2,       March 2, 1979 George             • Court orders prosecution    Notice: Deliberate
           11      Mitchell       1979           (discovery    Quinlan              to disclose exculpatory     Indifference and Unlawful
                                  (discovery     decision)                          grand jury testimony        Brady Policy, Custom, or
                                  decision)                                         over prosecutor’s           Practice.
                                                                                    opposition.

                                                                                  • “Compliance with Brady
                                                                                    cannot be made with
                                                                                    clue-dangling or
                                                                                    gamesmanship in place
                                                                                    of full disclosure.”
   7       112–    Walter         March 1979     February 21,     George          • In a pretrial discovery     ECDA Statement: Unlawful
           13,     Cadby          (trial)        1979             Quinlan           response, ECDA writes:      Brady Policy, Custom, or
           115–                                  (discovery       (Trial ADA)       “No exculpatory             Practice.
           16                                    response)                          evidence under Brady in
                                                                  Kurt Sajda        possession of or known      Notice: Deliberate
                                                 March 12,        (Appeals          to the People at this       Indifference and Unlawful
                                                 1979 (trial      ADA)              time.”                      Brady Policy, Custom, or
                                                 transcript)                                                    Practice.

                                                                      7
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                                                    Date of                                                             Purpose(s)
                                   Date of
Incident    PX                                      Court           ECDA                                             (Court Copy Only)
                   Defendant(s)     Trial/                                                Summary
  No.      No(s)                                   Decision/     Prosecutor(s)
                                  Conviction
                                                 Article/Brief
                                                January 14,      Edward          • At trial, ECDA
                                                1980 (ECDA       Cosgrove          prosecutor, opposing
                                                appellate        (DA)              disclosure of
                                                brief)                             impeachment
                                                                                   information in a police
                                                April 8, 1980                      report, argues: “Brady
                                                (Appellate                         says that [the] People are
                                                decision)                          under an obligation to
                                                                                   produce, a duty and an
                                                                                   obligation to produce
                                                                                   anything of which may
                                                                                   be of an exculpatory
                                                                                   nature.”

                                                                                 • On appeal, ECDA
                                                                                   concedes prosecutor’s
                                                                                   failure to disclose police
                                                                                   report containing a
                                                                                   witness’s statement
                                                                                   “cannot be justified.”
   8       182–    Calvin Terry   December 6,   October 16,      Martin          • ECDA did not disclose        ECDA Statement: Unlawful
           85                     1979          1979             Littlefield       favorable evidence prior     Brady Policy, Custom, or
                                  (verdict)     (discovery       (Trial ADA)       to trial, including          Practice.
                                                response)                          evidence inculpating an
                                                              Deborah              unindicted accomplice
                                                September 28, Sorbini              and a co-defendant
                                                1981 (ECDA (Appeals                cooperating with the
                                                appellate     ADA)                 prosecution.
                                                brief)
                                                              Edward             • In a pretrial discovery
                                                December 23, Cosgrove              response, the ECDA
                                                1981          (DA)                 writes: “Brady Material:
                                                (Appellate                         The People know of no
                                                decision)                          evidence which tends to
                                                                    8
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                                                  Date of                                                             Purpose(s)
                                    Date of
Incident    PX                                     Court           ECDA                                            (Court Copy Only)
                   Defendant(s)      Trial/                                             Summary
  No.      No(s)                                 Decision/      Prosecutor(s)
                                   Conviction
                                                Article/Brief
                                                                                  exculpate the defendant
                                                                                  regarding the charges in
                                                                                  the above indictment;
                                                                                  further the People
                                                                                  acknowledge their
                                                                                  continuing duty to
                                                                                  provide said information
                                                                                  should any become
                                                                                  available.”

                                                                                • ECDA states: “the
                                                                                  prosecutor provided
                                                                                  defense counsel with all
                                                                                  Brady material in his
                                                                                  possession.”

                                                                                • ECDA argues the
                                                                                  evidence was not Brady
                                                                                  because it was not
                                                                                  “exculpatory evidence
                                                                                  material to the issue of
                                                                                  the defendant’s guilt”
                                                                                  and, therefore, was “not
                                                                                  discoverable by pre-trial
                                                                                  motion.”
   9       120     Merle Steele,   April 1980   April 15, 1980 William          • Trial court declares        Notice: Deliberate
                   Michael         (trial)      (Buffalo       Knapp              mistrial and dismisses      Indifference and Unlawful
                   Steele, and                  Evening News                      underlying stolen           Brady Policy, Custom, or
                   John                         article)                          property charges because    Practice.
                   Rehrauer                                                       prosecutor failed to turn
                                                                                  over Brady material.
  10       121     Floyd Duke      May 1980     May 15, 1980    William         • Buffalo Evening News        Notice: Deliberate
                                   (trial)      (Buffalo        Mitterauer        reports prosecutor          Indifference and Unlawful
                                                                                  withheld exculpatory
                                                                    9
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                                                   Date of                                                             Purpose(s)
                                   Date of
Incident    PX                                      Court          ECDA                                             (Court Copy Only)
                   Defendant(s)     Trial/                                               Summary
  No.      No(s)                                  Decision/     Prosecutor(s)
                                  Conviction
                                                Article/Brief
                                               Evening News                        evidence from grand        Brady Policy, Custom, or
                                               article)                            jury.                      Practice.

                                                                                • Court dismissed grand
                                                                                  larceny, fraud charges.
  11       126     Gerald         Sept. 1981   November 14,     Joseph J.       • Buffalo Evening News        Notice: Deliberate
                   Ciccarelli     (trial)      1981 (Buffalo    Terranova         reports that trial court    Indifference and Unlawful
                                               Evening News                       found that prosecutors      Brady Policy, Custom, or
                                               article)                           withheld favorable          Practice.
                                                                                  evidence.

                                                                                • Court voided its earlier
                                                                                  finding of guilty and
                                                                                  dismissed sexual assault
                                                                                  charges.

                                                                                • Judge criticized
                                                                                  prosecutor’s judgment
                                                                                  discrediting the withheld
                                                                                  evidence as
                                                                                  “unacceptable.”

TOTAL NUMBER OF ECDA PROSECUTORS (INCLUDING DA COSGROVE): 13




                                                                   10
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Summations

                                   Date of        Date of                                                           Purpose
 Incident    PX                                                ECDA
                     Defendant      Trial/        Court                            Summary                      (Court Copy Only)
   No.       No.                                             Prosecutor
                                  Conviction     Decision
   12        127–   Leon Moore   July 22,      October 27,   Edward       • Appellate Division            (1) Notice: Deliberate
             31                  1965          1966          Decker         reverses robbery                  Indifference
                                 (Verdict)                                  conviction.

                                                                          • Prosecutor’s summation        (2) To establish Notice, for
                                                                            improperly commented              purpose of showing the
                                                                            on defendant’s exercise           policymaker’s acquiescence
                                                                            of his constitutional right       to subordinates’ misconduct
                                                                            to remain silent and              giving rise to inference of
                                                                            made improper “safe               unlawful policy, custom, or
                                                                            streets” argument.                practice of improper
                                                                                                              summations (herein,
                                                                                                              “Improper Summations
                                                                                                              Policy, Custom, or
                                                                                                              Practice”). See Walker Dkt.
                                                                                                              268, at 1–15 (discussing
                                                                                                              inference of unlawful
                                                                                                              custom, policy, or practice
                                                                                                              from acquiescence to
                                                                                                              misconduct); Dkt. 172, at
                                                                                                              61–67 (same); Dkt. 241, at
                                                                                                              34–35 (same).
   13        132–   Henry        November      October 26,   Thomas       • Appellate Division            Notice: Deliberate
             34     Slaughter    26, 1966      1967          Cleary         reverses murder               Indifference and Improper
                                 (Verdict)                                  conviction.                   Summation Policy, Custom,
                                                                                                          or Practice.
                                                                          • Prosecutor’s summation
                                                                            ridiculed insanity
                                                                            defense, misled jury that,
                                                                            if acquitted, defendant

                                                               11
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                                Date of       Date of                                                            Purpose
Incident   PX                                                 ECDA
                   Defendant     Trial/        Court                             Summary                     (Court Copy Only)
  No.      No.                                              Prosecutor
                               Conviction     Decision
                                                                           would soon be released
                                                                           to the streets, decried
                                                                           permissive societal
                                                                           attitudes, and made
                                                                           extreme “safe streets”
                                                                           argument.
  14       137–   Richard      September    April 9, 1969   Anthony      • Court of Appeals             Notice: Deliberate
           40     Damon        16, 1966                     DiFilippo      reverses child sexual        Indifference and Improper
                               (Verdict)                                   assault conviction.          Summation Policy, Custom,
                                                                                                        or Practice.
                                                                         • Prosecutor’s summation
                                                                           argued that defendant
                                                                           was “a homosexual or
                                                                           deviate,” improperly
                                                                           vouched for the police,
                                                                           personally attacked
                                                                           defense counsel, falsely
                                                                           argued prejudicial “facts”
                                                                           not in evidence, and
                                                                           made improper
                                                                           inflammatory remarks.
  15       144–   Elverton     July 20,     June 27, 1974   Al Ranni     • Appellate Division,          Notice: Deliberate
           45     Freeland     1973                                        while not reversing          Indifference and Improper
                               (Verdict)                                   conviction, did “not         Summation Policy, Custom,
                                                                           condone the excesses of      or Practice.
                                                                           the District Attorney’s
                                                                           summation.”
  16       146–   Jesse        October 3,   October 23,     Thomas       • Court of Appeals notes       Notice: Deliberate
           49     Ketchum      1973         1974            Cleary         “grievous misconduct by      Indifference and Improper
                               (Verdict)                                   the prosecution in cross-    Summation Policy, Custom,
                                                                           examination and              or Practice.
                                                                           summation which we
                                                                           strongly condemn.”


                                                              12
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                                 Date of        Date of                                                          Purpose
Incident   PX                                                   ECDA
                   Defendant      Trial/        Court                              Summary                   (Court Copy Only)
  No.      No.                                                Prosecutor
                                Conviction     Decision
  17       151–   James        March 12,     October 24,     Michael       • Appellate Division        Notice: Deliberate
           54     Donaldson    1974          1975            Stebick         reverses criminal         Indifference and Improper
                               (Verdict)                                     possession of a weapon    Summation Policy, Custom,
                                                                             conviction.               or Practice.

                                                                           • Prosecutor’s summation
                                                                             contained misleading
                                                                             argument, improperly
                                                                             penalized defendant for
                                                                             not testifying, and
                                                                             included “entirely
                                                                             improper and
                                                                             prejudicial” argument
                                                                             vouching for witness
                                                                             because grand jury had
                                                                             believed him.
  18       155–   Richard      May 30,       February 20,    Costantino    • Appellate Division        Notice: Deliberate
             58   Balsano      1974          1976                            reverses unlawful         Indifference and Improper
                               (Judgment                                     imprisonment              Summation Policy, Custom,
                               entered)                                      conviction.               or Practice.

                                                                           • Prosecutor gave “clearly
                                                                             improper” cross-
                                                                             examination of defendant
                                                                             and improper summation
                                                                             asking jury to penalize
                                                                             defendant for not calling
                                                                             a witness, and containing
                                                                             “inflammatory” remarks
                                                                             for which trial judge
                                                                             “properly admonished
                                                                             the prosecutor.”
  19       159–   Leonard      March 17,     Early 1977      Thomas        • District Attorney         Notice: Deliberate
           62,    Mordino      1975                          Cleary          concedes, and Appellate Indifference and Improper
           168                 (Verdict)                                     Division agrees, that
                                                                13
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                                Date of       Date of                                                          Purpose
Incident   PX                                                ECDA
                   Defendant     Trial/        Court                            Summary                    (Court Copy Only)
  No.      No.                                             Prosecutor
                               Conviction     Decision
                                                                          prosecutor made            Summation Policy, Custom,
                                                                          improper extreme           or Practice.
                                                                          remarks in summation.

                                                                        • Court condemns
                                                                          prosecutor calling
                                                                          defendants “vultures,”
                                                                          arguing guilt by
                                                                          association, and telling
                                                                          jury “if you walk like a
                                                                          duck and you talk like a
                                                                          duck and you keep the
                                                                          company of ducks then
                                                                          you are a damn duck.”
  20       169–   Ronald       May 13,      February 24,   Dennis       • Appellate Division         Notice: Deliberate
           72     Weston       1975         1976           Repka          reverses                   Indifference and Improper
                               (Judgment                                  burglary/rape/robbery      Summation Policy, Custom,
                               entered)                                   conviction.                or Practice.

                                                                        • Prosecutor conducted
                                                                          bad faith cross-
                                                                          examination of defendant
                                                                          and gave “inflammatory
                                                                          and intimidating”
                                                                          summation in which he
                                                                          also “put his personal
                                                                          credibility behind his
                                                                          statements and ma[d]e
                                                                          himself an ‘unsworn
                                                                          witness.’”
  21       173–   Kenneth      June 22,     June 2, 1978   Al Ranni     • All five Appellate         Notice: Deliberate
           77     Johnson      1977         (4th Dep’t)                   Division justices          Indifference and Improper
                               (Verdict)                                  condemn pervasive          Summation Policy, Custom,
                                                                          misconduct by ADA          or Practice.
                                                                          Ranni.
                                                             14
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                              Date of        Date of                                                         Purpose
Incident   PX                                              ECDA
                 Defendant     Trial/        Court                            Summary                    (Court Copy Only)
  No.      No.                                           Prosecutor
                             Conviction     Decision
                                          February 18,
                                          1984                        • Majority, while affirming
                                          (W.D.N.Y.)                    conviction due to
                                                                        overwhelming evidence,
                                                                        criticizes Ranni for
                                                                        misconduct “throughout .
                                                                        . . the trial” and
                                                                        expresses concern that
                                                                        “unadulterated unfairness
                                                                        and deceit have become
                                                                        the rule.”

                                                                      • Dissenting, two justices
                                                                        rebuke Ranni as “an
                                                                        overbearing prosecutor
                                                                        obsessed with the idea of
                                                                        obtaining a conviction at
                                                                        all costs, ignoring the
                                                                        court’s rulings,
                                                                        deliberately asking
                                                                        improper and prejudicial
                                                                        questions, and engaging
                                                                        in unpardonable efforts
                                                                        in comments during the
                                                                        trial and in summation to
                                                                        disparage defense
                                                                        counsel and to destroy
                                                                        his credibility with the
                                                                        jury.”

                                                                      • Ordering new trial,
                                                                        federal district court
                                                                        finds “prosecutor’s
                                                                        conduct was so improper
                                                                        as to amount to a pattern
                                                           15
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                                 Date of       Date of                                                              Purpose
Incident   PX                                                   ECDA
                   Defendant      Trial/        Court                               Summary                     (Court Copy Only)
  No.      No.                                                Prosecutor
                                Conviction     Decision
                                                                              of conduct which
                                                                              resulted in a denial of a
                                                                              fair trial.”

                                                                           • Court notes ECDA “has
                                                                             frankly conceded that the
                                                                             prosecutor’s questioning
                                                                             relating to prior pleas and
                                                                             the details of admitted,
                                                                             convicted crimes cannot
                                                                             be justified” and other
                                                                             conduct in cross-
                                                                             examinations and
                                                                             summation was
                                                                             “improper.”
  22       178–   John Keller   May 19,      April 6, 1979   Martin        • Appellate Division            Notice: Deliberate
           81                   1978                         Littlefield     unanimously reverses          Indifference and Improper
                                (Verdict)                                    assault conviction due to     Summation Policy, Custom,
                                                                             prosecutor’s “egregious”      or Practice.
                                                                             and “grossly improper”
                                                                             summation which
                                                                             repeatedly called
                                                                             defendant and his
                                                                             witnesses liars and
                                                                             expressed a personal
                                                                             opinion about witnesses’
                                                                             credibility, implied jury
                                                                             was prevented from
                                                                             hearing lie detector and
                                                                             other evidence, and made
                                                                             “irrelevant and
                                                                             inflammatory” remarks
                                                                             which “patently deprived
                                                                             defendant of a fair
                                                                             trial[.]”
                                                                16
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                                Date of        Date of                                                            Purpose
Incident   PX                                                 ECDA
                   Defendant     Trial/         Court                             Summary                     (Court Copy Only)
  No.      No.                                              Prosecutor
                               Conviction      Decision

                                                                         • DA’s Office concedes
                                                                           prosecutor’s summation
                                                                           was “wholly improper.”
  23       101–   J.L. Ivey    October 26,   July 9, 1981   Al Ranni     • Appellate Division            Notice: Deliberate
           05     (same case   1976          (4th Dep’t                    reverses robbery-murder       Indifference and Improper
                  appears in   (Verdict)     decision)                     conviction “where the         Summation Policy, Custom,
                  Brady/                                                   record is replete with        or Practice.
                  Rosario                                                  numerous and repeated
                  section)                                                 acts of improper and
                                                                           prejudicial conduct by
                                                                           the prosecution which
                                                                           deprived defendant of a
                                                                           fair trial.”

                                                                         • Noting it was not
                                                                           itemizing all of ADA
                                                                           Ranni’s misconduct, the
                                                                           court states that Ranni
                                                                           repeatedly defied the trial
                                                                           court’s rulings” in front
                                                                           of the jury, “insinuat[ing]
                                                                           that the court … unfairly
                                                                           precluded him” from
                                                                           offering evidence.

                                                                         • The court condemns
                                                                           Ranni’s inflammatory,
                                                                           prejudicial remarks in his
                                                                           opening and closing
                                                                           statements “designed to
                                                                           scare the jury” and “to
                                                                           inject sympathy for the
                                                                           victim”; his
                                                                           “disparagement of
                                                              17
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                                   Date of       Date of                                                            Purpose
Incident   PX                                                    ECDA
                   Defendant        Trial/        Court                             Summary                     (Court Copy Only)
  No.      No.                                                 Prosecutor
                                  Conviction     Decision
                                                                              defendant’s alibi
                                                                              witnesses by referring to
                                                                              their testimony as ‘lies,’
                                                                              ‘garbage,’ and advising
                                                                              the jury that ‘We should
                                                                              wash that chair [the
                                                                              witness chair] after she
                                                                              [defendant’s alibi
                                                                              witness] leaves’”; and his
                                                                              “clearly impl[ying] to the
                                                                              jury “he knew some
                                                                              things about the case he
                                                                              wished that they knew.”
  24       182–   Calvin Terry    December     December 23,   Martin        • Appellate Division           Notice: Deliberate
             85   (same case as   6, 1979      1981           Littlefield     reverses robbery             Indifference and Improper
                  in Brady/       (Verdict)                                   conviction in part           Summation Policy, Custom,
                  Rosario                                                     because of prosecutor’s      or Practice.
                  section)                                                    “totally improper”
                                                                              argument criticizing
                                                                              defendant for not calling
                                                                              a witness whose identity
                                                                              was unknown to him.
  25       186–   Howard          May 8, 1981 November 9,     Richard       • Appellate Division           Notice: Deliberate
             89   Vance           (Verdict)   1982            Panepinto       reverses robbery             Indifference and Improper
                                                                              conviction because           Summation Policy, Custom,
                                                                              prosecutor, in his           or Practice.
                                                                              summation and a witness
                                                                              examination, continually
                                                                              “overstep[ped] the
                                                                              bounds of legitimate
                                                                              advocacy” by making
                                                                              himself an “unsworn
                                                                              witness” against
                                                                              defendant.

                                                                 18
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                                    Date of        Date of                                                            Purpose
 Incident   PX                                                      ECDA
                    Defendant        Trial/         Court                              Summary                    (Court Copy Only)
   No.      No.                                                   Prosecutor
                                   Conviction      Decision
   26       163–   Leonard        September     July 9, 1981     Al Ranni      • Appellate Division          Notice: Deliberate
            68     Mordino        18, 1978                                       affirms conviction but      Indifference and Improper
                   (retrial)      (Verdict)                                      observes that “the court    Summation Policy, Custom,
                                                                                 frequently sustained        or Practice.
                                                                                 objections and gave
                                                                                 proper curative
                                                                                 instructions” during the
                                                                                 prosecutor’s questioning
                                                                                 of witnesses and that the
                                                                                 court gave curative
                                                                                 instructions seven times
                                                                                 during the prosecutor’s
                                                                                 summation.
   27       190–   Patrick Herlan February      January 27,      Charles       • Appellate Division          Notice: Deliberate
            92                    23, 1982      1984             Kelly           reverses burglary           Indifference and Improper
                                  (Verdict)                                      conviction because          Summation Policy, Custom,
                                                                                 prosecutor in cross-        or Practice.
                                                                                 examination repeatedly
                                                                                 pushed defendant to
                                                                                 characterize police
                                                                                 officer-witness testimony
                                                                                 as lies and then
                                                                                 condemned the
                                                                                 testimony in summation.


TOTAL NUMBER OF ECDA PROSECUTORS: 10




                                                                    19
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Other Fair Trial Violations

 Incident    PX       Defendant    Date of        Date of        ECDA               Summary                          Purpose
   No.       No.                    Trial/         Court       Prosecutor                                        (Court Copy Only)
                                  Conviction     Decision/
                                                  Article
    28      193–    Willie        March 10,    December 12,    Unknown      • Appellate Division           Notice: Deliberate
              95    Zachery       1967         1968                           reverses robbery             Indifference. See Walker Dkt.
                                  (Judgment    (Appellate                     conviction due to            268 at 1–15 (discussing
                                  entered)     Division                       “prejudicial conduct” of     deliberate indifference theory
                                               decision)                      prosecutor.                  generally); Dkt. 172, at 67–76
                                                                                                           (same); Dkt. 241, at 35–36
                                                                            • Prosecutor called co-        (same).
                                                                              defendant as witness
                                                                              knowing he would
                                                                              invoke his “privilege
                                                                              against self-incrimination
                                                                              and refuse to answer
                                                                              questions” and the
                                                                              “impropriety” of eliciting
                                                                              hearsay evidence unfairly
                                                                              incriminating the
                                                                              defendant.
    29      196–    Kenneth       September    April 3, 1969   Quinn        • Appellate Division           Notice: Deliberate
              98    Washington    6, 1967      (Appellate                     reverses robbery             Indifference
                                  (Judgment    Division                       conviction for
                                  entered)     decision)                      improperly cross-
                                                                              examining the defendant
                                                                              repeatedly in a manner
                                                                              “clearly condemned” in
                                                                              prior court decisions.
    30      141–    Salvatore     April 14,    December 10,    John Honan   • Appellate Division           Notice: Deliberate
              43    Cardinale     1970         1970                           reverses criminal            Indifference
                                  (Verdict)    (Appellate                     contempt conviction.


                                                                 20
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Incident   PX      Defendant    Date of          Date of          ECDA               Summary                        Purpose
  No.      No.                   Trial/           Court         Prosecutor                                      (Court Copy Only)
                               Conviction       Decision/
                                                 Article
                                              Division                       • Prosecutor’s “highly
                                              decision)                        prejudicial” opening
                                                                               statement alleged that
                                                                               defendant was involved
                                                                               in uncharged gambling
                                                                               conspiracy.
  31       199    Michael J.   August         Aug. 22, 1973    Timothy       • ADA Drury causes            Notice: Deliberate
                  Williams     1973 (Trial)   (Buffalo News    Drury           mistrial by asking          Indifference
                                              article)                         defendant during cross
                                                                               examination “if he had
                                                                               not raped another woman
                                                                               in his apartment” despite
                                                                               knowing such a charge
                                                                               had been dismissed;
                                                                               court ruled Drury
                                                                               “poisoned the
                                                                               atmosphere so the
                                                                               defendant could no
                                                                               longer get a fair trial.”
  32       150    Richard      December       December 5,      Joseph J.     • Trial court declares        Notice: Deliberate
                  Gesegnet     1973 (Trial)   1973 (mistrial   Valenti         mistrial due to             Indifference (note that PX 150
                                              order)                           prosecutor’s unfairly       is a newspaper article)
                                                                               prejudicial opening
                                                                               statement.
  33       200–   Robert       December       April 11, 1974 Unknown         • Appellate Division          Notice: Deliberate
             02   Reingold     5, 1972        (Appellate                       reverses burglary           Indifference
                               (Verdict)      Division                         conviction because
                                              decision)                        prosecutor, in bad faith,
                                                                               cross-examined
                                                                               defendant to show he had
                                                                               criminal propensity in a
                                                                               manner “so improper and
                                                                               inflammatory that it
                                                                               made an impartial
                                                                  21
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Incident   PX      Defendant       Date of          Date of         ECDA                 Summary                         Purpose
  No.      No.                      Trial/          Court         Prosecutor                                         (Court Copy Only)
                                  Conviction       Decision/
                                                    Article
                                                                                   consideration of the
                                                                                   competent evidence
                                                                                   adduced at trial virtually
                                                                                   impossible.”
  34       203–   Philip Greer    February 11,   November 6,      Philip         • Appellate Division           Notice: Deliberate
           05                     1975           1975             Marshall         reverses rape conviction     Indifference
                                  (Judgment      (Appellate                        because of prosecutor’s
                                  entered)       Division                          “improper” cross-
                                                 decision)                         examination of defendant
                                                                                   impermissibly intended
                                                                                   to show propensity for
                                                                                   similar crimes.
  35       206    James           March 1977     March 15,        Timothy        • Witness testified on         Notice: Deliberate
                  Conorozzo, et   (Trial)        1977 (Buffalo    Drury            cross-examination that       Indifference
                  al.                            News article)                     ADA Drury suggested
                                                                                   the defendants’ names to
                                                                                   him during questioning,
                                                                                   that Drury called him a
                                                                                   liar and threatened to
                                                                                   charge him with perjury,
                                                                                   and that he told Drury
                                                                                   and later the grand jury
                                                                                   that he thought a group
                                                                                   of people standing
                                                                                   around the victim’s body
                                                                                   included two men who
                                                                                   were not defendants in
                                                                                   the case.
  36       207    Anthony         November       November 6,      Timothy        • Trial court declares         Notice: Deliberate
                  Ashley          1978 (trial)   1978 (mistrial   Drury; Louis     mistrial after ADA           Indifference
                                                 order)           Gicale           Gicale cross-examines
                                                                                   defendant with
                                                 November 7,                       statements ADA Drury, a
                                                 1978 (Buffalo                     courtroom spectator, in
                                                                     22
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Incident    PX     Defendant      Date of           Date of       ECDA               Summary                         Purpose
  No.       No.                    Trial/            Court      Prosecutor                                       (Court Copy Only)
                                 Conviction        Decision/
                                                    Article
                                                News and                       violation of defendant’s
                                                Buffalo                        constitutional right to
                                                Courier-                       counsel, elicited from the
                                                Express                        defendant during a recess
                                                articles)                      while defense counsel
                                                                               and the trial prosecutor
                                                                               (Louis Gicale) were
                                                                               conferring with the judge
                                                                               outside the courtroom.
  37       208–   Lavaughs       October 26,    November 16,    Margaret     • Appellate Division,          Notice: Deliberate
           10     King           1976           1979            Anderson       reversing attempted          Indifference
                                 (Verdict)      (Appellate                     robbery conviction on
                                                Division                       the ground of misconduct
                                                decision)                      by the judge, notes
                                                                               critically that the
                                                                               prosecutor joined the
                                                                               judge in holding ex parte
                                                                               “conferences … outside
                                                                               of the presence of
                                                                               defense counsel.”
  38       211    Michael        October        October 8,      Craig        • Court declares mistrial in   Notice: Deliberate
                  Zurenda        1980 (trial)   1980 (Buffalo   Peterson       murder case after            Indifference
                                                Evening News                   prosecutor asks improper
                                                article)                       questions to impeach
                                                                               own witness.
  39       212    Loren Lobban   June 1984      December 18,    Unknown      • Trial court dismisses        Notice: Deliberate
                                 (Indictment/   1984 (Buffalo                  bribery indictment due to    Indifference
                                 Grand Jury     News article)                  prosecutors’ “abjectly
                                 presentment                                   inadequate” and “grossly
                                 )              May 21, 1985                   insufficient” presentation
                                                (Buffalo News                  of the case to the grand
                                                article)                       jury


                                                                   23
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Incident   PX      Defendant      Date of         Date of        ECDA               Summary                        Purpose
  No.      No.                     Trial/         Court        Prosecutor                                      (Court Copy Only)
                                 Conviction      Decision/
                                                  Article
                                                                            • In second decision
                                                                              blocking re-indictment,
                                                                              court finds the
                                                                              prosecutors’ misconduct
                                                                              “exemplifies a gross
                                                                              misunderstanding, if not
                                                                              a deliberate neglect of,
                                                                              the duty of a public
                                                                              prosecutor to seek
                                                                              justice, not merely to
                                                                              convict.” “Such callous
                                                                              disregard of fundamental
                                                                              obligations cannot be
                                                                              condoned by this court.”
  40       213–   James Grafton November/      January 8,      Amy Jo       • Trial court dismisses       Notice: Deliberate
           16                   December       1985 (trial     Fricano        indictment charging rape Indifference
                                1983           court ruling)                  and assault, and
                                (Indictment/                                  Appellate Division
                                Grand Jury     December 20,                   affirms, because of
                                presentment    1985                           prosecutor’s “deplorable
                                )              (Appellate                     tactics,” including that he
                                               Division                       “introduced irrelevant
                                               decision)                      and prejudicial evidence
                                                                              … of illegal conduct on
                                                                              the part of defendant,
                                                                              intimidated witnesses
                                                                              whose testimony would
                                                                              have been helpful to
                                                                              defendant, asked
                                                                              witnesses irrelevant and
                                                                              improper questions of a
                                                                              highly personal nature in
                                                                              an effort to embarrass
                                                                              them, and deliberately
                                                                 24
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 Incident   PX    Defendant     Date of      Date of       ECDA              Summary                        Purpose
   No.      No.                  Trial/      Court       Prosecutor                                     (Court Copy Only)
                               Conviction   Decision/
                                             Article
                                                                       confused and deceived
                                                                       witnesses and the Grand
                                                                       Jury by selective
                                                                       presentation of
                                                                       evidence.”

TOTAL NUMBER OF ECDA PROSECUTORS: 9, plus 3 prosecutors not named in briefs/decisions




                                                           25
